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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:16-cv-01804-PAB-NRN

  FLAME BONDEH BAGOUE; and those similarly situated

          Plaintiff,

  v.

  DEVELOPMENTAL PATHWAYS,INC., and
  CONTINUUM OF COLORADO,INC.

          Defendants.


                              DECLARATION OF CINDY DUTTON


          I, CINDY DUTTON,under the penalty of perjury, declare as follows:



  1.      I am over the age of 18 and not an individual party to the instant matter. The facts stated

   herein are within my personal knowledge and if called to testify, I could and would competently

  do so under oath as set forth below.

  2.       I submit this Declaration in support of the motion for summary judgment brought by

  Developmental Pathways, Inc. and Continuum of Colorado, Inc.("Continuum").

  3.       I am cw•rently employed by Continuum as its Director of Residential and Therapeutic

   Services. I have held this position since September, 2013.

  4.       Through my position as Director of Residential and Therapeutic Services at Continuum, I

   have gained the personal knowledge as to all facts stated within this Declaration.

  5.       Continuum is anot-for-profit state-designated Program Approved Service Agency, which

   is a service agency that provides services and supports for persons with intellectual and

   developmental disabilities and that has received approval by the Colorado Department of Health

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    Care Policy and Financing pursuant to section 2505-10-8.603 of the Colorado Code of

    Regulations.

   6.         Continuum is planned, designed, organized, operated, and maintained to provide services

    to and for individuals with developmental disabilities.

    7.        Continuum, as a Service Agency, provides services and supports such as family support,

    respite care, day services, and residential services to persons eligible pursuant to C.R.S. § 25.5-10-

    211.

   8.         Continuum generates its income from donations and public funds, which it uses to provide

    services to individuals with developmental disabilities.

    9.        Continuum does not generate 50% or more of its annual dollar volume of business from

    the sale of any service, commodity, article, good, real estate, wares, or merchandise to the

    consuming public

    10.       Continuum does not advertise its services to the general public, but instead contracts with

    the state and local government agencies within the State of Colorado, and with Community

    Centered Boards and Case Management Agencies within the State of Colorado,to provide services

    to individuals with developmental disabilities.

    11.       Continuum does not provide services to other commercial firms through the use of service

   employees, as it provides specialized services to individuals with developmental disabilities, not

   other commercial firms.

   12.        Continuum does not prepare or offer food or beverages for sale or consumption to the

    public.




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   13.     Continuum may have food prepared and provided to its clients as part of the services it

   provides, but at no time has Continuum prepared and offered food or beverages for consumption

   to the public for sale.

   14.     Continuum is not a hospital, home health care provider, a hospice center, a nursing home

   or a mental health center nor does Continuum provide medical, dental, surgical or other similar

   health services to its clients.

   15.     Continuum is astatutorily-defined service agency that provides services to individuals with

   developmental disabilities such as residential services, transportation, day programs, employment

   services, and other services to support people with intellectual or developmental disabilities.

   16.     Group homes are designed to help individuals with developmental disabilities to live as

   independently as possible by creating a living environment that represents the least departure from

   typical patterns of living and that effectively meets their needs and preferences, also referred to as

   the "lease restrictive environment."

   17.     To support residents in the least restrictive environment of their choosing,stakeholders and

   agencies across the state have designed group homes like Nevada House to help residents to live

   as independently as possible; and the 2.5 Day Shift to foster aperson-centered, home-like

   environment for the residents -- with minimal interruptions from transitioning staff.

   18.     Life Skills Specialists("LSS"),including the plaintiff Flavie Bondeh Bagoue ("Plaintiff'),

   were not responsible for the supervision of Nevada House residents until the start of their shifts,

   and such responsibilities ceased at the end of the shift.

   19.     Continuum maintained a policy and practice requiring employees to record all time

   worked, including any calls to duty or instances where LSS were required to supervise a resident

   during an employee's sleep-time.

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    20.    To the extent an LSS was awoken during sleep hours requiring her to provide supervision

    to residents or to perform work, that time was to be recorded by the LSS, and the LSS would be

    paid for the sleep time interruption.

   21.     An employee's failure to include any instances of work performed during their sleep-time

   is a violation of both Continuum's written policy, under which employees are required to record

    all work performed, and Continuum's prohibition of performing any work off the clock.

   22.     Incidents like those described by Plaintiff, i.e., where she alleges she was awoken by a

   resident tickling her feet, are considered by Continuum to be incidents requiring LSS to provide

   supervision of a resident and therefore, any such incidents should have been recorded.

   23.     A review of Plaintiff's payroll records confirms that she was paid for every reported

   instance where she was awoken during sleep hours requiring her to provide supervision to residents

   or to perform work.

   24.     Continuum could not know about any calls to duty or other work performed by Plaintiff

   during her sleep-time unless Plaintiff reported having worked.

   25.     Any instance where an LSS,including Plaintiff, arrived to Nevada House prior to the start

   of their shift, this time was theirs to engage in personal activities with no work activities required

   to be performed.

   26.     A review of the client logs for Nevada House residents confirm that there were typically

   no significant client events during these shifts.

   27.     At no time were any of Plaintiff's timecards manually altered by Continuum to delete time

   that Plaintiff worked.




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           Pursuant' to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

  statements are true and correct to the best of my knowledge.


  Executed o November 19, 2018
                                 ~_.._ .
    ~~~lL
   CINDY        UTTO



   STATE OF COLORADO                        )
                                             ss.
   COUNTY OF DENVER                         )


   Subscribed and sworn to me this 19`h day of November,2018, by _~!
                                                                  l.      ~E..~~'1

               SELINA R GRIGGS                                                    '~
        Notary Public — State of Colorado
             Notary ID 20184004317
       My Commission Expires Jan 25,2022                                 (Notary Public)

   My commission expires:               Cxn        3S,~'~~   DATED this 19`'' day of November,2018




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